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          IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


           ' BUSENER,                         *

                                              *

                  Plaintiff,                  *

                                              *       L20-CV-00729-ELR
          V.
                                              *

                                              *

LEAGLE.COM,                                   *

                                              *
et al.,
                  Defendants.                 *
                                              *

                                              *




                                       ORDER



          This case is before the Court for a frivolity review pursuant to 28 U.S.C.


§ 1915(e). Magistrate Regina D. Cannon granted Plaintiffs Application for Leave

to Proceed in forma pauperis ("IFP") and directed the Clerk to submit the matter to

this Court for a frivolity review [Doc. 2].

    I. Legal Standard

          Pursuant to 28 U.S.C. § 1915(e)(2)(B), a "court shall dismiss [an IFP claim]

at any time if the court determines that... the action or appeal (i) is frivolous or


malicious; (ii) fails to state a claim on which relief may be granted; or (iii) seeks

monetary relief against a defendant who is immune from such relief." A lawsuit is
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considered "frivolous if it is 'without arguable merit either in law or fact.'" Gar/ v.

U.S. Gov't, 540 F. App'x 916, 917 filth Cir. 2013) fquoting Napier v. Preslicka,

314 F.3d 528, 531 (llth Cir. 2002)). "Dismissal for frivolity is warranted when a

claim is based on an indisputably meritless legal theory, [the claim] relies on factual

allegations that are clearly baseless, which includes allegations that are fanciful,

fantastic, and delusional, or the facts alleged rise to the level of the irrational or the

wholly incredible." Gary, 540 F. App'x at 917.

       Whether a complaint fails to state a claim under Section 1915(e)(2)(B)(ii) is

governed by the same standard applicable to motions to dismiss under Federal Rule

of Civil Procedure 12(b)(6). Reddv v. Gilbert Med. Transcription Serv., Inc., 588 F.

App'x 902, 903 (11th Cir. 2014). Dismissal for failure to state a claim is appropriate

if the facts as pleaded fail to state a claim for relief that is "plausible on its face."

Ashcroft v. Iqbal. 556 U.S. 662. 678 f2009') fcitation omitted): see also Rembert v.

Florida, 572 F. App'x 908, 909 (11th Cir. 2014). A complaint fails to state a claim

when it lacks "enough factual matter (taken as true)" to "give the defendant fair

notice of what the ... claim is and the grounds upon which it rests." Bell Atlantic


Corp. v. Twomblv, 550 U.S. 544, 555-56 (2007). A plaintiff is required to provide

"more than labels and conclusions, and a formulaic recitation of the elements of a


cause of action will not do." Id. A plaintiff must offer "more than an unadomed, the-


defendant-unlawfully-harmed-me accusation." Iqbal, 556 U.S. at 678. "Nor does a
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complaint suffice if it tenders 'naked assertion[s]' devoid of 'further factual

enhancement.'" IcL (alteration in original) (quoting Twombly, 550 U.S. at 557).

      As is relevant here, complaints pleaded pro se are "held to a less stringent

standard than pleadings drafted by attorneys and are liberally construed." Bingham

v. Thomas, 654 F.3d 1171, 1175 (llth Cir. 2011) (citation and internal quotation

marks omitted). The Court "must look beyond the labels of filings by pro se

plaintiffs to interpret them under whatever statute would provide relief." Wilkerson

v. Georgia, 618 F. App'x 610, 611 (11th Cir. 2015) (alterations omitted). However,

the Court cannot rewrite a deficient pleading, and pro se plaintiffs are required to

comply with the threshold requirements of the Federal Rules of Civil Procedure.

Lizana-Jackson v. U.S.-Deu't of the Treasury, No. 1:13-CV-3815-AT, 2013 WL


7118115, at *2 (N.D. Ga. Nov. 25, 2013).


  II. Discussion


      Plaintiff, Janet Busener, brings this complaint against Defendants,

Leagle.com and Leagle Inc., seeking $10 million for lost wages and suffering for

allegedly slandering her reputation and using her name and likeness without her

consent. See [Doc. 3]. Plaintiff claims that Defendants have not only profited from

her likeness, but have also slandered her reputation by posting, on their website, the


content of a criminal court opinion where Plaintiffs name is the same as the named


defendant in the case. Id.
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       As an initial matter, pro se complaints are to be constmed liberally. Therefore,

although Plaintiff asserts a claim of slander, the Court finds from the Complaint that

Plaintiff intends to assert a claim of libel. Under Georgia law, libel, or written

defamation, is a false and malicious defamation expressed in print, writing, pictures,

or signs that tends to injure the reputation of the person and exposes her to public

hatred, contempt, or ridicule. See O.C.G.A. §51-5-1. Furthermore, it is also clear to


the Court that Plaintiff intended to bring a claim for violating her right to publicity

based on the unauthorized use of her name and likeness. See [Doc. 3]. Pursuant to


Georgia law, the right to publicity prohibits "the appropriation of another's name

and likeness . . . without consent and for the financial gain of the


appropriator ... where such use is not authorized as an exercise of freedom of the


press" Toffoloni v. LFP Publ'e Group, LLC, 572 F.3d 1201, 1205-06 (llth Cir.

2009) (quoting Martin Luther King. Jr., Ctr. For Soc. Change, Inc., v. Am. Heritage


Products. Inc., 250 Ga. 135, 143 (1982)). Additionally, the publication of

information or incidents that are matters of public record will not constitute a

violation of any one's legal right to publicity. Cox Broadcasting Corp. v. Cohn,420

U.S. 469, 494 (1975).

      After review of the Complaint, the Court finds Plaintiffs Complaint frivolous

due to failure to state a claim. A complaint fails to state a claim when it lacks "enough


factial matter (taken as true)" to "give the defendant fair notice of what the . . . claim
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is and the grounds upon which it rests." Bell Atlantic Corp., 550 U.S. at 555-56

(2007). Furthermore, a plaintiff is required to provide more than vague allegations

and conclusions." See id.


      Here, Plaintiffs Complaint fails to claim that the allegedly libelous material is

false. Additionally, as court opinions are matters of public record. Defendants use of

Plaintiffs name and likeness by posting a court opinion to their website does not

constitute a violation of Plaintiff s right to publicity. Therefore, as Plaintiff has failed

to allege that Defendants made any false statements and the information contained on

Defendants' website is a matter of public record, the Court finds Plaintiffs Complaint

frivolous due to failure to state a claim. Accordingly, Plaintiffs Complaint must be

DISMISSED without prejudice.

   HI. Conclusion


      For the foregoing reasons, the Court DISMISSES WITHOUT PREJUDICE

Plaintiffs Complaint [Doc. 3] and DIRECTS the Clerk to close case L19-CV-

00729-ELR.

                                   i^l
       SO ORDERED, this /^' day of March, 2020.




                                                  1/^^4 A.
                                                Eleanor L. Ross
                                                United States District Judge
                                                Northern District of Georgia
